                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JERRY WALKER                                           )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )       Case No. 3:14-cv-02170
                                                       )
MARRIOTT HOTEL SERVICES, INC.                          )
                                                       )
       Defendant.                                      )


                                  NOTICE OF COMPROMISE


       COME NOW the Parties, and give notice that they have reached a compromise in this

case and are presently finalizing the terms of their agreement. A Notice of Dismissal pursuant to

Fed. R. Civ. P. will be filed within 45 days of the date of this notice.

       DATED this 3rd day of February, 2015.

                                               Respectfully submitted,


                                               s/Joshua J. Sudbury
                                               Mark E. Stamelos (TN 021021)
                                               Joshua J. Sudbury (TN 028162)
                                               FORDHARRISON LLP
                                               150 3rd Avenue South
                                               Suite 2010
                                               Nashville, Tennessee 37201
                                               Telephone: (615) 574-6700
                                               Facsimile: (615) 574-6701
                                               mstamelos@fordharrison.com
                                               jsudbury@fordharrison.com

                                               COUNSEL FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been served upon the following

via the Court’s ECF system this 3rd day of February, 2015, upon:

Christopher Kim Thompson (TN 015895)
Thompson Law Group PLLC
301 South Perimeter Park Drive
Suite 218
Nashville, TN 37211
Telephone: (615) 832-2335
Facsimile: (615) 832-2235
kthompson@tlgpllc.com

                                            s/Joshua J. Sudbury
                                            Counsel for Defendant




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